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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF VERMONT


GARRET SITTS, et al.,

       Plaintiffs,                          Civil Action No. 2:16-cv-00287-cr

v.

DAIRY FARMERS OF AMERICA, INC. and
DAIRY MARKETING SERVICES, LLC,

       Defendants.



           DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND
               DAIRY MARKETING SERVICES, LLC’S MOTION
     IN LIMINE NO. 8: TO PRECLUDE CERTAIN ARGUMENT OR EVIDENCE
                 AND MEMORANDUM OF LAW IN SUPPORT


                     EVIDENTIARY HEARING REQUESTED

REDACTED VERSION FILED PUBLICLY PURSUANT TO PROTECTIVE ORDER
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       By plaintiffs' own account, this case is about whether Dai1y Faimers of America, Inc.

("DFA") and Daiiy MarketiI1g Se1vices, LLC " engaged in a multi-faceted conspiracy with

processors and other cooperatives to reduce competition, acquire monopsony power, and suppress

raw milk prices in the market for raw milk sales in Order 1."1




                 The Comt, respectfully, should exclude such evidence and argument from trial

pmsuant to Federal Rules of Evidence 402, 403, and 404.2

                                         DISCUSSION




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       Expert Repo1t ofEiner R. Elhauge ,i 4 (Oct. 3, 2018), available at ECF No. 147-1.
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       Because motions in limine ru·e not due until June 17, 2020, DFA rese1ves the right to file
additional motions in limine after this date.
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6
        Of course, the Cow1 's decision to pennit initial discove1y into this topic does not suppo1i
plaintiffs' attempt to now admit this evidence at trial, as "the scope of relevance for discove1y
purposes is necessarily broader than trial relevance." Durant v. Target Stores, Inc. , 2017 WL
4163661, at *3 (D. Conn. Sept. 20, 2017) (citation omitted). See also Fed. R. Civ. P. 26(b)(l)
("Infonnation within this scope of discove1y need not be admissible in evidence to be
discoverable." .
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                      Federal Rule of Evidence 404(b), which forecloses evidence of au act "to prove

a person's character in order to show that on a paiiicular occasion the person acted in accordance

with the character," prohibits precisely this kind of improper incrimination-by-extrapolation-

reasoning at trial.

II.     THE IMPROPER CONSEQUENCES OF ADMITTING THIS EVIDENCE FAR
        OUTWEIGH ANY RELEVA.NCE




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         "Ve1mont law recognizes a litigation privilege that extends to statements within documents
filed in a judicial proceeding, and thus a defamation claim based upon court filings is not actionable
in Vennont." Von Weingarten v. Chester, 2019 WL 4059839, at *5 n.1 (D. Vt. Aug. 28, 2019)
(Reiss, J.) (quotation omitted), appeal filed, No. 19-2932 (2d Cir. Sept. 13, 2019).


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                                         Presumably, at trial, both sides would have to question at

least as many witnesses on the topic, if not more.




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                                        CONCLUSION

       For the foregoing reasons, DFA respectfully requests that the Court preclude plaintiffs from

introducing any evidence, testimony, or argument regarding

                          DFA also respectfully requests that the Court schedule an evidentiary

hearing on this Motion.




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Dated: June 15, 2020                   Respectfully submitted by:

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                     LOCAL RULE 7(A)(7) CERTIFICATION OF COUNSEL

       Pursuant to Local Rule 7(a)(7), the undersigned counsel for DFA certifies that DFA made

a good faith attempt to obtain plaintiffs’ agreement to the requested relief in this motion, but was

not able to do so.

Dated: June 15, 2020
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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2020, I electronically filed with the Clerk of Court the
foregoing document using the CM/ECF system and the below parties via email. The CM/ECF
system will provide service of such filing via Notice of Electronic Filing (NEF) to the following
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